             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                    BRYSON CITY DIVISION
           CRIMINAL CASE NO. 2:13-cr-00025-MR-DLH-2


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                        ORDER
                                )
TIFFANY CULLINS,                )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 10].

     For the reasons stated therein, and for good cause shown, the Court

will grant the Government’s Motion.

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 10] is GRANTED, and the count set forth in the Bill of

Indictment against the Defendant Tiffany Cullins is hereby DISMISSED.

     IT IS SO ORDERED.          Signed: September 13, 2013




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